
882 So.2d 588 (2004)
Jeremy S. LACOMBE
v.
Walter Fox MCKEITHEN, in His Capacity as Secretary of the State of Louisiana, and Rodney Alexander, in His Capacity as a Congressional Candidate for the Fifth District for the State of Louisiana.
No. 2004-C-2240.
Supreme Court of Louisiana.
September 2, 2004.
In re Scott, John W. "Jock";  Other; Applying for Writ of Certiorari and/or Review, Parish of Iberville, 18th Judicial District Court Div. D, No. 61,331; to the Court of Appeal, First Circuit, No. 2004 CE 1880.
Denied.
